Exhibit A

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                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICJ' OF NORTH CAROLINA
                                       WESTERN DIVISION
                                      Consolidated Civil Action



        RALEIGH WAKE CITIZENS             )
        ASSOCIATION, et al.,              )
                                          )
                              Plaintiffs, )
                                          )
                   v.                     )                       No. 5:15-CV-156-D
                                          )
        WAKE COUNTY BOARD OF ELECTIONS, )
                                          )
                              Defendant.  )


        CALLA WRIGHT, et al.,                          )
                                                       )
                                        Plaintiffs,    )
                                                       )
                           v.                          )          No. 5:13-CV-607-D
                                                       )
        STATE OF NORTH CAROLINA,                       )
                                                       )
                                        Defendant.     )


                                                      ORDER

               Plaintiffs challenged the North Carolina General Assembly's ("General Assembly") 2013

        redistricting plan for electing the Wake County School Board ("2013 Wake County School Board

        Plan") and the General Assembly's 2015 redistricting plan for electing the Wake County Board of

        Commissioners ("2015 Wake County Commissioners Plan"). Plaintiffs contended that the 2013

        Wake County School Board Plan and the 2015 Wake County Commissioners Plan violate the one

        person one vote principle in the Equal Protection Clause ofthe Fourteenth Amendment ofthe United

        States Constitution and Article I, § 19 of the North Carolina Constitution. Plaintiffs conceded,



                 Case
                  Case5:15-cv-00156-D
                        5:15-cv-00156-D Document
                                         Document101-2 Filed07/08/16
                                                  78 Filed   08/08/16 Page
                                                                       Page1 1ofof9 9
however, that the maximum population deviation in the 2013 Wake County               Board Plan and

the 2015 Wake County Commissioners Plan was below 10% and conceded that such a deviation is

a "minor deviation" under governing Supreme Court precedent. Specifically, in both redistricting

plans, the maximum population deviation in the seven single-member districts was 7.11% and in the

two super districts was 9.8%. As for the 2013 Wake County School Board Plan, plaintiffs contended

that the plan resulted from the General Assembly's partisan desire (1) to disadvantage incumbents

on the non-partisan Wake County Board of Education ("Wake County Board of Education" or

"Wake County School Board") who are registered Democrats who suppqrt "progressive" education

policies and (2) to favor suburban and rural voters over urban voters. As for the 2015 Wake County

Commissioners Plan, plaintiffs contended that the plan resulted from the General Assembly's

partisan desire (1) to favor suburban and rural voters over urban voters and (2) to favor voters who

favor Republican candidates over voters who favor Democratic candidates. on the Wake County

Board of Commissioners. Plaintiffs also contended that the 2015 General Assembly racially

gerrymandered District 4 in the 2015 Wake County Commissioners Plan and thereby violated the

Equal Protection Clause of the Fourteenth Amendment of the United States Constitution.

       Defendant Wake County Board of Elections ("defendant" or "Wake County Board of

Elections") is the local election board responsible for administering elections in Wake County, North

Carolina, including elections for the Wake County Board of Education and the Wake County Board

of Commissioners. The Wake County Board of Elections had nothing to do with the General

Assembly's decision to enact the 2013 Wake County School Board Plan or the 2015 Wake County

Commissioners Plan, but the United States Court of Appeals for the Fourth Circuit has held that the

Wake County Board of Elections is the proper defendant. See Wright v. North                787 F.3d

256, 261-63 (4th Cir. 20 15). Moreover, although theWake County Board ofE1ections does not take

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          Case
           Case5:15-cv-00156-D
                 5:15-cv-00156-D Document
                                  Document101-2 Filed07/08/16
                                           78 Filed   08/08/16 Page
                                                                Page2 2ofof9 9
a position on whether the General Assembly should have adopted the 2013 ·Wake County School

Board Plan or the 2015 Wake County Commissioners             theWake County Board ofElections has

defended the constitutionality of the redistricting plans as a legal and institutional matter.

       On December 16-18,2015, the court held a bench trial in this consolidated action. In their

complaints and at the end of the trial, plaintiffs asked this court to declare the 2013 Wake County

School Board Plan and the 2015 Wake County Commissioners Plan unconstitutional, to enjoin the

Wake County Board of Elections from administering elections under either plan, to hold elections

under a court-ordered remedial plan, and to give the General Assembly                  opportunity to

redistrict the Wake County School Board and Wake County Board of Commissioners consistent with

the United States and North Carolina Constitutions.

       On February 26, 2016, the court found that plaintiffs had not proven their case, entered

judgment for the Wake County Board of Elections, and declined to enjoin the Wake County Board

of Elections from administering elections under either tlte 2013 Wake County School Board Plan

or the 2015 Wake County Commissioners Plan. See [D.E. 64, 65]. Plaintiffs appealed. See [D.E.

66].

       On April 20, 2016, the Supreme Court of the United States decided Harris v. Arizona

Independent Redistricting Commission, 136 S. Ct. 1301 (2016). In Harris, the Supreme Court

clarified the standard governing one person one vote challenges where the maximum population

deviation in a redistricting plan is less than 10%. See id. at 1307. "[l]n a case like this one, those

attacking a state-approved plan must show that it is more probable than not that a deviation ofless

than 10% reflects the predominance ofillegitimate reapportionment factors rather than the legitimate

considerations to which we have referred in Reynolds [v. Sims, 377 U.S. 533 (1964)] and later

cases." ld. (quotation omitted). In Harris, the Court also stated: "Given the inherent difficulty of

                                                  3

          Case
           Case5:15-cv-00156-D
                 5:15-cv-00156-D Document
                                  Document101-2 Filed07/08/16
                                           78 Filed   08/08/16 Page
                                                                Page3 3ofof9 9
measuring and comparing factors that may legitimately: account for small deviations from strict

mathematical equality, we believe that attacks on deviations under 10% will succeed only rarely, in

unusual cases." ld.

       On July 1, 2016, the United States Court of Appeals for the Fourth Circuit, in a 2-1 decision,

resolved the appeal in this case. As for plaintiffs' racial gerrymandering claim, the Fourth Circuit

unanimously rejected plaintiffs' racial gerrymandering :claim. See RWCA v. Wake Cty. Bd. of

Elections, No. 16-1270, No.            2016 WL 3568147, at *13-15 (4th Cir. July 1,            As for

plaintiffs' one person one vote claim, the Fourth Circuit applied Harris and found that this case was

the "rare[]" and ''unusual" case referenced in Harris.· See id. at *12. Thus, even though the

maximum populatiQ..n deviation in each plan was below 10%, the Fourth Circuit found it more
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probable than not that the deviation of less than 10% reflects the predominance of an illegitimate

reapportionment factor (i.e., improper partisanship) over legitimate considerations. ld. Accordingly,

the Fourth Circuit held that each plan violated the one person one vote principle in the United States

Constitution and the North Carolina Constitution. Id. at *12-13. The FoUrth Circuit remanded

''with instructions to enter immediately judgment for Plaintiffs, granting both declaratory relief and

a permanent injunction, as to the one person, one vote claims." Id. at * 15 (footnote omitted). The

Fourth Circuit added that it saw "no reason why theNovember 2016 elections should proceed under

the unconstitutional plans we strike down today." Id. at *15 n.13.

       The Fourth Circuit's mandate has not yet issued, and, absent another order from the Fourth

Circuit, will not issue any earlier than July 22, 2016. See Fed. R. App. P. 40(a)(1), 41(b). "The

mandate is the document by which [the appellate court] relinquishes jurisdiction and authorizes the

originating district court ... to enforce the            of [the appellate court]." United States v.

Campbell, 168 F.3d 263,266 n.3 (6th Cir. 1999) (quotation omitted); see United States v. DeFries,

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          Case
           Case5:15-cv-00156-D
                 5:15-cv-00156-D Document
                                  Document101-2 Filed07/08/16
                                           78 Filed   08/08/16 Page
                                                                Page4 4ofof9 9
129 F.3d 1293, 1302 (D.C. Cir. 1997) (per curiam); see also Griggs v. Provident Consumer Disc.

Co., 459 U.S. 56, 58 (1982) (per curiam). Nevertheless, once the mandate issues, this court will

issue the mandated declaratory relief and permanent injunction. When this court does so, the court
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must address the remedy. The people in Wake County deserve and will have elections for the Wake

County School Board and the Wake County Board of Commissioners on November 8, 2016.

Notably, the terms of office of three County Commissioners and nine School Board members will

expire shortly after the November 2016 election.

       Not later than July 18, 2016, the Wake County Board ofElections will notify the court of any

applicable deadlines that must be met in order to hold an election on November 8, 2016, under a new

plan or plans for the Wake County School Board and the Wake County Board of Commissioners.

The deadlines include, but are not limited to: (1) any applicable dates for the beginning and ending

of qualification period for candidates and filing period for candidates; (2) the date when early voting

starts; (3) the date when military, overseas, and other absentee ballots must be mailed; and, (4) the

date when ballots must be printed. The Wake County Board of Elections also will advise the court

whether a primary election for the Wake County Board of Commissioners is feasible.

       Not later than July 18, 2016, the court requests that the Speaker of the House and the

President Pro Tempore of the Senate of the North Carolina General Assembly notify the court

whether the General Assembly will devise a new redistricting plan or plans and when the General

Assembly will provide that new plan or plans to the court. Cf. Lawyer v. Dep't of Justice, 521 U.S.

567, 575-76 (1997) (holding that a federal court should give a state a reasonable opportunity to meet

constitutional requirements by adopting a substitute redistricting plan that correcU; the constitutional

deficiency in an invalidated plan); Growe v. Emison, 507 U.S. 25, 34-37 (1993) (same); Wise v.

Lipscomb, 437 U.S. 535, 540 (1978) (same); Chapman v. Meier, 420 U.S. 1,:26-27 (1975) (same);

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          Case
           Case5:15-cv-00156-D
                 5:15-cv-00156-D Document
                                  Document101-2 Filed07/08/16
                                           78 Filed   08/08/16 Page
                                                                Page5 5ofof9 9
White v. Weiser, 412 U.S. 783, 794-97 (1973) (same); Ely v. Klahr, 403 u.:s. 108, 114-15 & n.6
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(1971) (same). In doing so, the court takes judicial notice that the General Assembly adjourned on

July 1, 2016, and is not scheduled to reconvene until January 2017.

       If the General Assembly is unable or unwilling to submit a new plan 'or plans for the Wake

County School Board and Wake County Board of Commissioners, a mechanism exists under North

Carolina law for the North Carolina Board ofElections to act. Specifically, North Carolina General

Statute§ 163-22.2 provides:

               In the event ... any State election law or form of election pf any county board
       of commissioners, local board of education, or city officer is held unconstitutional
       or invalid by a State or federal court ... and such ruling adversely affects the conduct
       and holding of any pending primary or election, the State Board of Elections shall
       have authority to make reasonable interim rules and regulations with respect to the
       pending primary or election as it deems advisable so long as they do not conflict with
       any provisions of Chapter 163 of the General Statutes and such rules and regulations
       shall become null and void 60 days after the               of the next regular session of
       the General Assembly. The State Board of Elections shall also be authorized, upon
       recommendation of the Attorney General, to enter into agreement with the courts in
       lieu of protracted litigation until such time as the General Assembly convenes.

       Pursuant to section 163-22.2, it appears that theNorth Carolina Board ofElections could, for

example, take the existing plans and equalize the population in the two super districts and equalize

the population in the seven single-member districts. Such a remedy would appear to address the one
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person one vote violation, while otherwise preserving the legitimate legislative choices in the 2013

Wake County School Board Plan and 2015 Wake County Commissioners Plan. Cf. Harris, 136 S.

Ct. at 1306 ("The Fourteenth Amendment's Equal Protection Clause requires States to make an

honest and good faith effort to construct legislative districts as nearly of equal population as is

practicable.") (alterations and quotations omitted)); Newsome v. N.C. State Bd. of Elections, 105

N.C. App. 499, 506--08, 415 S.E.2d 201, 204--()6 (1992) (affirming the action of the North Carolina

Board of Elections under North Carolina General Statute § 163-22.2 where its remedial plan
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                                                  6

          Case
           Case5:15-cv-00156-D
                 5:15-cv-00156-D Document
                                  Document101-2 Filed07/08/16
                                           78 Filed   08/08/16 Page
                                                                Page6 6ofof9 9
 corrected the defect in the statute, but otherwise "carried out the clear intention of the General

 Assembly").

        Not later than July 18, 2016, the court requests that the North Caroli.D.a Board of Elections

 advise the court of its willingness to act under North Carolina General Statute § 163-22.2 to ensure

the timely election of,the Wake County School Board and Wake County Board of Commissioners.

If the North Carqlina Board of Elections will act, the court also requests notice of when the North

 Carolina Board of Elections will provide a new plan or plans to the court or provide some other

 proposed remedy.

        If neither the General Assembly nor the North Carolina Board of Elections plans to act and

 the mandate issues, this court will have to address the remedy. If the court's injunction bars the use

 in the November 2016 election of the plans that the Fourth Circuit invalidated, the effect of the

 injunction will be to cancel the votes cast in the March 2016 primary election for the Wake County

 Board of Commissioners
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                        and to void the primary election of March 15, 2016, to void the candidate

 filing for the Wake County Board of Commissioners, which closed on December 17,2015, and to

 void the candidate filing for the Wake County School Board, which closed on July 1, 2016. The

 court will have to address the propriety of such a remedy and address whether footnote 13 in the

 Fourth Circuit's opinion mandates such a remedy. Cf. Purcell v. Gonzalez, 549 U.S. 1, 4--5 (2006)

 (per curiam); Upham v. Seamo!1 456 U.S. 37, 44 (1982) (per curiam); Ely, 403 U.S. at 114--15;

, Reynolds, 377U.S. at585-86; S.W.                              Projectv. Shelley, 344 F.3d 914,919

 (9th Cir. 2003) (en bane) (per curiam). The parties will provide the court therr views on these issues

 not later than July 18, 2016.

        Finally, if the General Assembly or the North Carolina Board of Elections does not act and

 this court concludes that the Fourth Circuit has mandated that the invalidated plans not be used in

                                                   7

           Case
            Case5:15-cv-00156-D
                  5:15-cv-00156-D Document
                                   Document101-2 Filed07/08/16
                                            78 Filed   08/08/16 Page
                                                                 Page7 7ofof9 9
the November 2016 election, the court will have to devise, consider, and adopt a court-ordered

remedial plan or plans. McGhee v. Granville Cty., 860 F.2d 110, 115 (4th Cir. 1988) ("If the

legislative body fails to respond or responds with a legally unacceptable remedy, the responsibility

falls on the District Court to exercise its discretion in fashioning a near optimal plan.") (citations and

quotations omitted)). If this court does so, the Supreme Court has stated that "modifications of a

state plan are limited to those necessary to cure [the] constitutional ... defect." Upham, 456 U.S.

at43; see Percyv. Perez, 132 S. Ct. 934,941-44 (2012) (per curiam); Abrams v. Johnso!!, 521 U.S.

74, 98-101 (1997); Weiser, 412 U.S. at 795-97; Cook v. Luckett, 735 F.2d 912, 918-20 (5th Cir.

1984). Moreover, a court-drawn plan should employ "single-member over multimember districts,

absent persuasive justification to the contrary." Wise, 437 U.S. at 540; see Connor v. Finch, 431

U.S. 407,414-15 (1977); Mahan v. Howell, 410 U.S. 315, 333 (1973) (same); Connor v. Johnson,

402 U.S. 690, 692 (1971) (per curiam) (same). Furthermore, a court-drawn.plan "must ordinarily

achieve the goal of population equality with little more than de minimis variation."                 420

U.S. at26-27 (footnote omitted); see Abrams, 521 U.S. at 98-100 (same); Connor, 431 U.S. at414

(same).

          The parties will provide the court their views on these issues and a schedule for devising,

considering, and adopting any court-ordered remedial plan or plans not later than July 18, 2016.

Additionally, the court recognizes that the Speaker of the House and the President Pro Tempore of

the Senate of the North Carolina General Assembly and the North Carolina Board of Elections are

not parties to this case. The court therefore DIRECTS the clerk of court to serve this order upon the

office of the North Carolina Attorney General and DIRECTS the office of the North Carolina

Attorney General to ensure proper service ofthis order on the Speaker ofthe Hpuse and the President




                                                    8

            Case
             Case5:15-cv-00156-D
                   5:15-cv-00156-D Document
                                    Document101-2 Filed07/08/16
                                             78 Filed   08/08/16 Page
                                                                  Page8 8ofof9 9
. Pro Tempore ofthe Senate ofthe North Carolina General Assembly and on the North Carolina Board

 of Elections.

        SO ORDERED. This 1 day of July 2016.




                                                9

           Case
            Case5:15-cv-00156-D
                  5:15-cv-00156-D Document
                                   Document101-2 Filed07/08/16
                                            78 Filed   08/08/16 Page
                                                                 Page9 9ofof9 9
